Case: 0:16-cv-00008-HRW Doc#:3 Filed: 12/30/15 Page: 1 of 20 - Page ID#: 24

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

X
K-TEX, LLC, : Civil Action No. 5V-I0 Of
Plaintiffs, : |
-against-
CINTAS CORPORATION
Defendant.
x

NOTICE OF REMOVAL OF DEFENDANT
CINTAS CORPORATION

Defendant Cintas Corporation (“Cintas”), pursuant to 28 U.S.C. §§ 1332, 1441, & 1446,
hereby remove this action from the Supreme Court of the State of New York, New York County, |
to the United States District Court for the Southern District of New York. Cintas states, by and
through undersigned counsel, the grounds for removal as follows:

1. Plaintiff K-Tex, LLC (“K-Tex”) commenced this civil action in the Supreme
Court of the State of New York, New York County, Index No. 652831/15. This is a civil action
removable pursuant to 28 U.S.C. §§ 1441. The United States District Court for the Southern
District of New York embraces the place where the action is pending.

2. Upon information and belief, K-Tex is a Nevada limited liability company formed
under the laws of Nevada with its principal place of business in Tennessee.

3. Defendant Cintas is a corporation incorporated under the laws of Washington

with its principal place of business in Ohio.

 
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4. The amount in controversy, without interest and costs, exceeds the sum or value
specified in 28 U.S.C. §§ 1332, The complaint seeks a money judgment of approximately
$1,000,000 in compensatory damages; in addition to compensatory damages the complaint seeks
pre-judgement interest and collection costs.

5. This notice of removal is filed within 30 days after the receipt by the defendant,
through service or otherwise, of a copy of the initial pleading setting forth the claim for relief |
upon which such action is based, to wit: defendant Cintas was served with a copy of the
Summons and Complaint on December 11, 201 5,

6. A copy of all process, pleadings, and orders served upon defendant is attached.

WHEREFORE, Defendant respectfully notifies this Court that, pursuant to 28 U.S.C. §§
1332, 1441, & 1446, they have removed this action from the Supreme Court of the State of New

York, New York County.

 

 
 

Case: 0:16-cv-00008-HRW Doc #:3 Filed: 12/30/15 Page: 3 of 20 - Page ID#! 26

Dated: December 30, 2015

Respectfully submitted,
FORD MARRIN ESP O WITMEYER
& GLESER, om L.P

A

dward Pier Puster
ichael Sabino
Wall Street Plaza
88 Pine Street
New York, New York 10005
Tel.: (212) 269-4900
Attorney for Defendant
Cintas Corporation

 

 
 

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Yow. * . Transmittal Number: 14567144
Notice of Service of Process Date Processed: 12/14/2015
Primary Contact: Michael Barker

Cintas Corporation

6800 Cintas Blvd,

Mason, OR 45040
Entity; Cintas Corporation 4

Entity ID Number 317193 , !
Entity Served: ; _ Cintas Corporation
Title of Action: K-Tex, LLC vs, Cintas Corporation
Document(s) Type: Summons/Compiaint
Nature of Action: Contract
Court/Agency: New York County Supreme Court, New York
* Case/Reference No: 652831/15
Jurisdiction Served: New York ;
Date Served on CSC: 12/11/2018 ,
Answer or Appearance Due: 20 Days
Originally Served On: csc
How Served: Personal Service
Sender Information: Benjamin Suess
” ” 212-988-4868

 

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constitute a legal opinion, The recipient is responsible for interpreting the documents and taking appropriate action. .

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~~,

SUPREME COURT OF THE STATE OF NEW YORK
NEW YORK COUNTY

 

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: Index No. (050%3)/ is

K-TEX, ELC,
Plaintifé,
-against-
SUMMONS
CINTAS CORPORATION,

Defendant.

 

To: Cintas Corporation
141 West 36th Street
Suite 901
New York, New York 10018
Corporation Service Company
80 State Street .
Albany, New York, 12207-2543 ;
To the above-named defendant:
You are hereby summoned and required to serve upon Plaintiff’s attomey an answer |.
to the complaint i in this action within twenty days after the service of this summons, .
exclusive of the day of service, or within thirty days after service is complete if this
summons is not personally delivered to you within the State of New York. In case of your

failure to answer, judgment will be taken against you by default for the telief demanded in

the complaint,

 

 

 

 

 
 

 

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The basis of the venue designated is defendant's residence/place of doing business
pursuant to CPLR 503(¢). . |
‘Dated: New York, New York . '
August 14, 2015 SCHRADER & SCHOENBERG, LLP
Attorneys for Plaintiff

By:

 

Benjamin Suess, Esq,

711 Third Avenue, Suite 1803
New York, New York 10017
(212) 986-4838

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Case: 0:16-cv-O00008-HRW Doc#:3 Filed: 12/30/15 Page: 7 of 20 - Page ID#: 30
v

SUPREME COURT OF THE STATE OF NEW YORK

 

NEW YORK COUNTY
x
K-TEX, LLC, oe { S28
Index No. (9 Soh =
Plainift 9 SR K31/15 |
~against-
: COMPLAINT |
CINTAS CORPORATION,
Defendant.
x

 

‘Plaintiff, K-Tex, LLC (“K-Tex"), by and through its attomeys Schrader and
Schoenberg, LLP, alleges for its complaint against the defendant as follows:
Introduction

1. This is an action for breach of contract arising from the defendant's failure to
pay for goods sold and delivered, . |

2. Plaintiff K-Tex, LLC, a Nevada Corporation, is in the business of selling,
among other things, fiber and industrial textiles, K-Teéx's principal place of business is
located at 6547 Corsica Drive, Memphis, Tennessee, Through the relevant time periods of
the sales at issue in this case, K-Tex maintained a business office located at 711 Third
Avenue, 18th Floor, New York, New York. . .

3. Defendant Cintas Corporation, a Washington State Corporation, is in the
business of, among other things, the purchase and sale of cleaning supplies and textile

products with its principal place of business located at 6800 Cintas Blvd., Mason, Ohio.

 

Cintas maintains.a business office in New York at 141 West 36th Street, Suite 901, New

York, New York and regularly conducts business within the State of New York.

 

 

 

 
 

 

 

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FACTS COMMON TO ALI, COUNTS

4, From in or about July 2010. through December 2010, the defendant purchased !
textile products, including among other things Aprons, Towels and Fender Covers from
plaintiff, . |

3: Ih connection with requesting goods, the’ defendant agreed in advance to pay
a fixed price to.the plaintiff for the goods and agreed that payment would be made for all
items purchased within 30 days.

6. _ Plaintiff delivered the requested goods which were accepted and received by
the defendant ;

7. The defendant acknowledged receipt of the goods, and upon information and

s

belief, has resold the goods.

8. The defendant was subsequently invoiced i in comection with the shipment
received and failed to pay the balance owing in the amount of approximately $1,000,000 in
4 specific amount to be proven at trial.

"9, Plaintiff is owed from the defendant the sum of approximately $1,000,000
plus interest at the rate of 18 percent.

10, The defendant also owes the plaintiff its attorneys’ fees and collection costs
which were agreed to be paid as part of the standard terms and coneitions of the purchase,
Based upon the contingency arrangement for this collection matter, defendant owes an
additional 33 and 1/3 percent.:

 

 

 

 
 

 

 

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11, Despite that the goods were provided to defendant, the balance owing
remains unpaid to plaintiff and unpaid by the defendant in the total amount of approximately
$1,000,000. |

(Breach of Contract)

12, Plaintiff repeats and realleges each of the allegations set forth above as if set
forth at length herein. |

13, Plaintiff entered into an agreement with defendant for the sale of certain goods.

14; Pursuant to the aforesaid agreement, plaintiff performed its obligations under
the contract and delivered the goods ordered by the defendant satisfying its obligations under
the contract.

15. Despite that plaintiff performed all of its agreed ‘obligations under the
agreement, defendant breached the agreement and failed to pay for the goods delivered, thus

. causing financial} injury to the plaintiff.

16. Despite demand, defendants have refused and failed to pay the amount owing to
plaintiff,

17, There remains due and owing from defendants the sum of approximately
$1,000,000 (plus interest and collection costs) for the goods delivered, for which payment,
despite demand, has not been made by defendant. The total sum due and owing is

approximately $1,000,000 plus accrued interest.

 

 

 

 
 

 

 

WHEREFORE, plaintiff demands judgment against defendant, for compensatory

damages, plus pre-judgment interest and collection costs, and such other and further relief as

this Court may deem just and proper, in an amount of approximately $1,000,000 plus

interest at 18 percent.

SECOND CAUSE OF ACTION.
‘(Unjust Enrichment)

18. Plaintiff hereby repeats and realleges each of the allegations set forth above
as if set forth at length.

19, The goods provided to defendant by plaintiff were provided with the full
understanding that defendant would pay the invoice for such goods provided by the plaintiff,
This amounted to an extension of credit by plaintiff to defendant,

20. By not paying plaintiff promptly and in full for the goods defendant received,
defendant received the full benefit of plaintiff's performance without performing in rerum.

21. Plaintiff has made demands of defendant for payment, but defendant has
failed ‘and refused to pay the amount of credit extended by plaintiff (and goods delivered) on
their behalf. |

22. ~~ Plaintiff reasonably expected full remuneration for the goods delivered, and
the performance of such services conferred a benefit upon defendant.

23. Since the failure to compensate plaintiff enriched defendant beyond their

entitlement, and without payment for said services performed, defendant's aforesaid conduct

constitutes unjust enrichment.

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WHEREFORE, plaintiff demands judgment against defendant, for compensatory
damages, plus pre-judgment interest and collection costs, and such other and further relief as
this Court may deem just and proper, in an amount of approximately $1,000,000 plus

- interest at 18% plus costs of collection. .

CAU Fe
(Promissory Estoppel)

24, — Plaintiff hereby repeats and tealleges each of the allegations set forth above ;
as if set forth at length herein, .
25. Defendant made promises. to pay plaintiff, which were Clear and
unambiguous in their terms. a
26. Said promises were reasonably relied upon by plaintiff to its detriment, and
- formed the basis of further extensions of credit.
27, | Such reliance was foreseeable to defendant.
, 28, Plaintiff was damaged as a result of said reliance,
WHEREFORE, plaintiff demands judgment against defendant, for compensatory
damages, plus pre-judgment interest and collection costs, and such other and further relief as
this Court may deem just and proper, in an amount of approximately $1,000,000 plus

interest at 18% plus costs of collection.

FOURTH CAUSE OF ACTION
(Quantam Meruit)

'29. Plaintiff repeats and realleges each of the allegations set forth above as if +
fully set forth at length herein.

 

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30, Plaintiff provided goods to defendant for which it was never paid or
otherwise compensated,

31, - These goods were provided to the defendant for the benefit of defendant,
who did indeed receive the benefit of said goods, |

32. The actual benefit conferred on defendant was in excess of approximately
$1,000,000.

33. Demand has been made of defendant for payment of the goods delivered, but
defendant has failed and refused to compensate plaintiff therefore,

34, Defendant has therefore been unjustly enriched to plaintiff's detriment and at _
plaintiff's expense.

WHEREFORE, plaintiff demands judgment against defendant, for compensatory
damages, plus pre-judgment interest and collection costs, and such other and further relief as
this Court may deem just and proper, in an amount of approximately $1,000,000 plus
interest at 18% plus costs of collection.

0)
(Account Stated)

35, Plaintiff repeats and realleges each of the allegations set forth above as if
fully set forth at length herein. .

36. .. Invoices duly rendered and accounts stated by plaintiff to defendant show a
balance due and owing by defendants to plaintiff in the sum of approximately $1,000,000 and
as otherwise reflected in the invoices sent to defendant, and as set forth in the applicable
terms and conditions, including additionally interest and costs of collection..

37. Despite demand, such sum has not been paid,

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_ WHEREFORE plaintiff demands Judgment against defendant, for compensatory
damages, plus pre-judgment interest and collection costs, and such other and further relief as
this Court may deem just and proper, in an amount of approximately $1,000,000 plus
interest at.18 percent.

‘Dated: New York, New York
August 14, 2013 ;
Respectfully submitted, ’

SCHRADER & SCHOENBERG, LLP.
Attomeys for Plaintiff

4a

Benjamin Suess, Esq. ;
71 Third Aveaue, Suite 1803
New York, New York 10017

(212) 986-4888

 

 

 

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Case: 0:16-cv-00008-HRW - _ Doc #. 3 Filed: 12/30/15 | _Page: 14 of 20 - Page ID#: 37

 

) NYSCEF - New York County Supreme Court

{ Confirmation Notice

This Is an automated response for Supreme Court / Court of Claims cases, The NYSCEF sits has
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K>Tax, LLG »v, » Cintag Corporation
Index Number NOT assigned

.Documents Received on 98/14/2018 02:33 PM

Doc# Document Type Motion #
1 SUMMONS + COMPLAINT

Does no} contain an SSN or CPi as defined tn 202, Be) oF or 206,8(8)

Filling User
Name: BENJAMIN SUESS
Phone#: 212-086-4888 E-mall Addrass; benjamin@schradschoen.com
Fax #: Work Address: 711 3rd Avenue
Loy ‘Suite 1803
Now York, NY 10017
E-mall Notifications
An e-mall notification regarding this filing has been sent to the following address(es) on
08/14/2015 02:33 PM:

SUESS, BENJAMIN ~ benjamin@schradschoen.com

NOTE: If submitting a working copy of this filing to the court, you must include
as a notification page firmly affixed thereto a copy of this Confirmation Notice.

 

 

Hon, Niliton A. Tingling, New York County Clerk and Clerk of the Supreme Court
Phone: 648-386-5958 Website: http:/Awww.nycourts.gov/courta/1/d/supctmantVeounty_cierk_operations.shtm!

NYSCEF Resource Conter - EFile@nycourts.gov
Phona: (646) 386-3033 Fax: (212) 401-9146 © Website: www.nycourts.goweflle

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‘Case: 0:16-cv-00008-HRW Doc #:3 Filed: 12/30/15 Page: 15 of 26 - Page ID#: 38

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SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK |
) a .
K-TEX, LLC, : ; ,
. : Index Ne, 63283 1/15
Plalndif, : .
| -against- : CONSENT TO CHANGE
: ATTORNEY
CINTAS CORPORATION, i
CINTA
Defendant. to
x

 

‘IT 1S HEREBY CONSENTED THAT, Moritt Hock & Hamroff, LLP be
substituted as incoming attorneys of record for Plaintiff K-Tex, LLC (“client”),
in the above-entitled action in place and stead of the outgoing attorney as of the

date hereof. Facsimile and/or electronic signatures may ‘be deemed originals for

all purposes herein.

Dated: New York, New York
Decem 1 1§

  
 
  

 

“SCHRADE

    

=.

By: By:

 

David A, Schrader, Esq. David A\S¢hrder, Esq.

Outgoing Attorney for K-Tex, LLC
TU Third Ave,, Suite 1803

New York, New York 10017

(212) 986-4888

 

Incoming Attorney for K-Tex, LLC
450 Seventh Ave., 15" Floor

New York, New York 10123

(212) 239-2000

 

 
Case: 0:16-cv-00008-HRW Doc#:3 Filed: 12/30/15 Page: 16 of 20 - Page ID#: 39

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(es  NYSCEF - New York County Supreme Court
Confirmation Notice

This is an automated response for Suprame Court / Court of Claims cases, The NYSCEF site has
recelved your slectronically filed document(s) for:

     

K-Tex, LLC - y. « Qintas Corparation . ,
—-gban3q/a048

Documents Recelved on 12/10/2018 12:28 PM

Doc # Document Type Motion #
2 CONSENT TO CHANGE ATTORNEY (PRE Rui) . ,
Does not contain an SSN or CPI as defined in 202,5(8) of 206.5(e)

Filing User

Name: DAVID ALAN SCHRADER .
Phone #: (212) 239-2000 E-mail Address:  dschrader@moritthock.com
Fax #: Work Address; 480 Seventh Avenue, Suite 1504

New York, NY 10123

" E-mail Notifications

An e-mail notification regarding this filing has been sent to the following natress(os) on
42/10/2018 12:28 PM:

SCHRADER, DAVID ALAN - ~ dschrader@moritthock.com
SUESS, BENJAMIN - benjamin@schradschoen.com

NOTE: If submitting a working copy of this filing to the court, you must Include
as a notification page firmly affixed thereto a copy of thls Confirmation Notice.

 

Hon, Milton A. Tingling, New York County Clerk and Clerk of the Supreme Court
Phone: 648-386-5956 Website: http:/Avww.nycourts.gov/courts/1}d/supctmanh/county_clerk_operations.shtm!

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_Case: 0:16-cv-00008-HRW Doc #3 Filed: 12/30/15 Page: 17 of 20 - Page ID#: 40

-NYSCEF - New York k County Supreme Court
Confirmation Notice

This is an automated response for Supreme Court / Court of Clalms ¢ cases, . The NYSCEF site has
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K-Tex, LLC - v, - Cintas Corporation

652831/2015

Documents Recelved on: 12/16/2015 12:40 PM

Doc # Document Type : Motion #
3 _ AFFIRMATION/AFFIDAVIT OF SERVICE ;
Does not contain an SSN or CPI as defined In 202,8(@) or 206, 5(9)

Filing User
Name: DAVID ALAN SCHRADER .
Phone #: (212) 239-2000 E-mail Address:  dschrader@moritthock.com

Fax #: Work Addreas: 450 Seventh Avenue, Suite 1504
Naw York, NY 10123

- E-mall Notifications

An e-mail notification regarding this filing has been sent to the following address(es) on
12/18/2016 12:40 PM:

SCHRADER, DAVID ALAN - dschrader@moritthock.com

NOTE: ff submitting a working copy of this filing to the court, you must Include
as a notification page firmly. affixed thereto a copy of this Confirmation Notice,

 

 

Hon, Milton A, Tingling, New York County Clerk and Clerk of the Supreme Court
Phone: 646-386-5956 | Website: http:/Avww.nycourts.gov/courts/1\d/supctmanh/county_clerk_operations.shtml

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. , ‘ )
" SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

 

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KeTEX, LLCO
. Plaintiff/Petitloner,

- against - an index No. 862831/2018
CINTAS CORPORATION, .

oscar

NOTICE OF COMMENCEMENT OF ACTION
SUBJECT TO MANDATORY ELECTRONIC’ FILING

 

PLEASE TAKE NOTICE that the matter captioned above has been commenced as an
electronically filed case In the New York State Courts Electronic Filing System ("NYSCEF”) as
required by CPLR § 2111 and Uniform Rule § 202.5-bb (mandatory electronic filing). This notice
Is being served as required by that rule.

NYSCEF Is designed for the electronic filing of documents with the County Clerk and the
court and for the electronic service. of those documents, court documents, and court notices upon
counsel and unrepresented litigants who have consented to electronic filing.

 

Electronic filing offers significant benefits for attorneys and litigants, permitting papers ‘to be
filed with the County Clerk and the court-and served on other parties simply, conveniently, and
quickly. NYSCEF case documents are filed with the County Clerk and the court by filing on the
NYSCEF Website, which can be done at any time of the day or night on any day of the week, The
documents are served automatically on all consenting e-filers as soon as the document Is uploaded
to the Website, which sends out an Immediate email notification of the filing.

The NYSCEF System charges no fees for filing, serving, or viewing the electronic ‘case
record, nor does it charge any fees to print any filed documents. Normal filing fees must be paid,
but this can be done on-line.

Parties represented by an attorney: An attomey representing a party who Is served with
this notice must either: 1) immediately record his or her representation within the e-flled matter on
the NYSCEF site; or 2) file the Notice of Opt-Out form with the clerk of the court where this action
is pending, Exemptions from mandatory e-filing are limited to attorneys who certify in good faith that
they lack the computer hardware and/or scanner and/or internet connection or that they lack (along

with all employees subject to their direction) the operational knowledge to comply with e-filing
requirements. [Section 202.5-bb(e)]

Parties not represented by an attorney: Unrepresented litigants are exempt from e-
filing. They can serve and file documents In paper form and must be served with documents
in paper form. However, an unrepresented litigant may participate in e-filing.

 

 

 

 
 

 

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For Information on how to participate In e-filing, unrepresented \itigants should contact the
appropriate clerk in the court where the action was filed or visit www.nycourts.goviefile-
unrepresented, Unrepresented litigants also are encouraged to visit www.nycourthelp.gov or
contact the Help Center in the court where the action was filed. An unrepresented litigant who
consents to e-filing may cease participation at any time. However, the other partles may continue
to e-file their court documents In the case.

 

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/eflle or contact the NYSCEF Resource Center (phone: 646-
386-3033; e-mail: efile@nycourts.gov). '

Dated: 8/14/18

711 THIRD AVE., SUITE 1803

 

 

 

 

 

 

 

Signature . a Address
BENJAMIN SUESS, ESQ. NEW YORK, NY 10017
Name
SCHRADER & SCHOENBERG, LLP - (212) 986-4888
Firm Name Phone .
RGOLDSTEIN@MORITTHOCK.COM
E-Mail.

 

To:

 

 

 

9/3/45

:

 

 

 
Case: 0:16-cv-O0008-HRW Doc#:3 Filed: 12/30/15 Page: 20 of 20 - Page ID#: 43

DECLARATION OF SERVICE

I, Michael Sabino, hereby declared that on December 30, 2015, I electronically filed the
foregoing Notice of Removal with the Clerk of the Court using the ECF system.

I hereby certify that I have served by Federal Express that document to the following
counsel of record:

David Schrader
MORITT HOCK & HAMROFF, LLP
450 Seventh Ave., 15" Floor
New York, New York 10123
(212) 239-2000

FORD MARRIN ESPOSITO WITMEYER

GLESER, L.L.P.
Lp Ko

A] va Sabino

Wall Street Plaza

88 Pine Street

New York, New York 10005
Tel.: (212) 269-4900
Attorney for Defendant
Cintas Corporation

 

 
